           Case 19-62147-lrc        Doc 35 Filed 11/06/19 Entered 11/06/19 09:12:41                      Desc
                                    Confirmation Denied - 13 Page 1 of 1

                                    UNITED STATES BANKRUPTCY COURT

                                             Northern District of Georgia


In     Debtor(s)
Re:    Ivy Ty Landry                                         Case No.: 19−62147−lrc
       P.O. Box 1275                                         Chapter: 13
       Grayson, GA 30017                                     Judge: Lisa Ritchey Craig

       xxx−xx−7124




                                              ORDER OF DISMISSAL



The Chapter 13 Trustee's objection(s) to confirmation came before the Court and

After hearing and for good cause shown, confirmation is denied, and

IT IS ORDERED THAT THIS CASE IS DISMISSED.

Any unpaid filing fees must be paid by the Debtor(s) to the Clerk of the United States Bankruptcy Court within
fourteen (14) days of the date of the entry of this Order.

The Clerk is directed to serve a copy of this Order on the Debtor(s), the Attorney for the Debtor(s), the Chapter 13
Trustee, all creditors and other parties in interest. The Attorney for the Debtor(s) shall serve a copy of this Order upon
any employer of the Debtor(s) who is subject to an employer deduction order.




                                                             Lisa Ritchey Craig
                                                             United States Bankruptcy Judge


Dated: November 6, 2019


Form 155
